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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
          v.                                       : CASE NO. 21-CR- 725 (RDM)
                                                   :
JARED KASTNER, ET AL.,                             :
                                                   :
                       Defendants.                 :
                                             _____ :

                                  JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendants Jared Kastner, Luke Faulkner, and Kenneth Massie, by

and through their attorneys, Nate Silver, Kira Anne West, and Stephen Brennwald, respectively,

now submit this joint status report, requested by the Court on April 19, 2022.

       1. In the last joint status report, the government discussed the state of global discovery

           and case-specific discovery in this matter. Since then, the government has produced

           hundreds of case-specific files to the defendants via USAfx, including law enforcement

           reports related to the defendants’ arrests, reports documenting the defendants’

           statements to law enforcement, documents summarizing the defendants’ criminal

           history, Capitol and WMATA CCV footage, videos of custodial interviews with the

           defendants, and open-source video. Case-specific discovery was produced on April 28,

           2022, May 23, 2022, and June 15, 2022.

       2. Also, the government has made all global productions available on the defense

           instances of Relativity and Evidence.com. Global productions were made on April 26,

           2022, and May 11, 2022. At this juncture, approximately 229,870 files have been

           provided to the defense Relativity database. These documents include 159 digitally
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   recorded interviews, and the results of searches of 214 digital devices and 21 Stored

   Communications Act accounts. Over 24,000 video files have been provided to the

   defense Evidence.com video repositories. Corresponding indexes have been made

   available via USAfx.

3. The government expects to make additional global productions, which should include,

   inter alia, the scoped results of search warrants conducted on other Capitol riot

   defendant’s electronic devices and social media accounts, recorded custodial

   interviews of Capitol riot defendants, and additional materials in the custody and

   control of the FBI that may be relevant to the defendants.

4. On May 23, 2022, plea offers were made to all defendants and delivered via email to

   counsel. The government is engaged in productive plea discussions with the defense

   and expects those discussions to continue in the near future.

5. Given the discovery recently produced, continued production of global discovery, and

   entry into plea negotiations, the parties ask for an additional 60 days to work toward a

   resolution in this matter.

6. Therefore, the parties ask for leave to submit another joint status report on August 22,

   2022. If the parties reach a decision regarding disposition of this matter prior to that

   date, the parties will notify the Court before August 22, 2022.

7. The parties are in agreement that, due to plea negotiations, the ends of justice would be

   served by exclusion of time under the Speedy Trial Act until the proposed next filing

   before this Court on August 22, 2022. The defendants waive their rights under the




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 Speedy Trial Act and agree to the exclusion of time for the period from today’s status

 report through August 22, 2022.



                                   Respectfully submitted,

                                   MATTHEW M. GRAVES
                                   UNITED STATES ATTORNEY
                                   D.C. Bar No. 481052


                           BY:     /s
                                   WILL N. WIDMAN
                                   Trial Attorney, Detailee
                                   NC Bar No. 48158
                                   1301 New York Avenue, NW, 8th Floor
                                   Washington, D.C. 20530
                                   (202) 353-8611
                                   Will.Widman@usdoj.gov




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